USCA4 Appeal: 19-1405    Doc: 7-2     Filed: 05/29/2019 Pg: 1 of 1
                Case 1:19-cv-00787-RDB Document 11 Filed 05/29/19 Page 1 of 6




                                                                       FILED: May 29, 2019


                             UNITED STATES COURT OF APPEALS
                                 FOR THE FOURTH CIRCUIT

                                       ___________________

                                             No. 19-1405
                                        (1:19-cv-00787-RDB)
                                       ___________________

        ADRIA CRUMP

                      Plaintiff - Appellant

        v.

        VINIFERA DISTRIBUTING

                      Defendant - Appellee

                                       ___________________

                                         JUDGMENT
                                       ___________________

              In accordance with the decision of this court, the judgment of the district

        court is affirmed.

              This judgment shall take effect upon issuance of this court's mandate in

        accordance with Fed. R. App. P. 41.

                                               /s/ PATRICIA S. CONNOR, CLERK
USCA4 Appeal: 19-1405    Doc: 6      Filed: 05/29/2019 Pg: 1 of 2
                Case 1:19-cv-00787-RDB Document 11 Filed 05/29/19 Page 2 of 6



                                            UNPUBLISHED

                               UNITED STATES COURT OF APPEALS
                                   FOR THE FOURTH CIRCUIT


                                              No. 19-1405


        ADRIA CRUMP,

                            Plaintiff - Appellant,

                     v.

        VINIFERA DISTRIBUTING,

                            Defendant - Appellee.



        Appeal from the United States District Court for the District of Maryland, at Baltimore.
        Richard D. Bennett, District Judge. (1:19-cv-00787-RDB)


        Submitted: May 23, 2019                                           Decided: May 29, 2019


        Before KING and RICHARDSON, Circuit Judges, and SHEDD, Senior Circuit Judge.


        Affirmed by unpublished per curiam opinion.


        Adria Crump, Appellant Pro Se.


        Unpublished opinions are not binding precedent in this circuit.
USCA4 Appeal: 19-1405    Doc: 6      Filed: 05/29/2019 Pg: 2 of 2
                Case 1:19-cv-00787-RDB Document 11 Filed 05/29/19 Page 3 of 6



        PER CURIAM:

              Adria Crump appeals the district court’s order denying relief on her civil

        complaint. We have reviewed the record and find no reversible error. Accordingly, we

        affirm for the reasons stated by the district court. Crump v. Vinifera Distrib., No. 1:19-

        cv-00787-RDB (D. Md. Apr. 9, 2019). We dispense with oral argument because the facts

        and legal contentions are adequately presented in the materials before this court and

        argument would not aid the decisional process.

                                                                                     AFFIRMED




                                                    2
USCA4 Appeal: 19-1405    Doc: 7-1     Filed: 05/29/2019 Pg: 1 of 3
                Case 1:19-cv-00787-RDB Document 11 Filed 05/29/19 Page 4 of 6

                                                                            FILED: May 29, 2019


                               UNITED STATES COURT OF APPEALS
                                   FOR THE FOURTH CIRCUIT

                         No. 19-1405,      Adria Crump v. Vinifera Distributing
                                           1:19-cv-00787-RDB

                                        ________________________

                                        NOTICE OF JUDGMENT
                                        ________________________

        Judgment was entered on this date in accordance with Fed. R. App. P. 36. Please be
        advised of the following time periods:

        PETITION FOR WRIT OF CERTIORARI: To be timely, a petition for certiorari
        must be filed in the United States Supreme Court within 90 days of this court's entry of
        judgment. The time does not run from issuance of the mandate. If a petition for panel
        or en banc rehearing is timely filed, the time runs from denial of that petition. Review
        on writ of certiorari is not a matter of right, but of judicial discretion, and will be
        granted only for compelling reasons. (www.supremecourt.gov)

        VOUCHERS FOR PAYMENT OF APPOINTED OR ASSIGNED COUNSEL:
        Vouchers must be submitted within 60 days of entry of judgment or denial of
        rehearing, whichever is later. If counsel files a petition for certiorari, the 60-day period
        runs from filing the certiorari petition. (Loc. R. 46(d)). If payment is being made from
        CJA funds, counsel should submit the CJA 20 or CJA 30 Voucher through the CJA
        eVoucher system. In cases not covered by the Criminal Justice Act, counsel should
        submit the Assigned Counsel Voucher to the clerk's office for payment from the
        Attorney Admission Fund. An Assigned Counsel Voucher will be sent to counsel
        shortly after entry of judgment. Forms and instructions are also available on the court's
        web site, www.ca4.uscourts.gov, or from the clerk's office.

        BILL OF COSTS: A party to whom costs are allowable, who desires taxation of
        costs, shall file a Bill of Costs within 14 calendar days of entry of judgment. (FRAP
        39, Loc. R. 39(b)).
USCA4 Appeal: 19-1405    Doc: 7-1     Filed: 05/29/2019 Pg: 2 of 3
                Case 1:19-cv-00787-RDB Document 11 Filed 05/29/19 Page 5 of 6

        PETITION FOR REHEARING AND PETITION FOR REHEARING EN
        BANC: A petition for rehearing must be filed within 14 calendar days after entry of
        judgment, except that in civil cases in which the United States or its officer or agency
        is a party, the petition must be filed within 45 days after entry of judgment. A petition
        for rehearing en banc must be filed within the same time limits and in the same
        document as the petition for rehearing and must be clearly identified in the title. The
        only grounds for an extension of time to file a petition for rehearing are the death or
        serious illness of counsel or a family member (or of a party or family member in pro se
        cases) or an extraordinary circumstance wholly beyond the control of counsel or a
        party proceeding without counsel.

        Each case number to which the petition applies must be listed on the petition and
        included in the docket entry to identify the cases to which the petition applies. A
        timely filed petition for rehearing or petition for rehearing en banc stays the mandate
        and tolls the running of time for filing a petition for writ of certiorari. In consolidated
        criminal appeals, the filing of a petition for rehearing does not stay the mandate as to
        co-defendants not joining in the petition for rehearing. In consolidated civil appeals
        arising from the same civil action, the court's mandate will issue at the same time in all
        appeals.

        A petition for rehearing must contain an introduction stating that, in counsel's
        judgment, one or more of the following situations exist: (1) a material factual or legal
        matter was overlooked; (2) a change in the law occurred after submission of the case
        and was overlooked; (3) the opinion conflicts with a decision of the U.S. Supreme
        Court, this court, or another court of appeals, and the conflict was not addressed; or (4)
        the case involves one or more questions of exceptional importance. A petition for
        rehearing, with or without a petition for rehearing en banc, may not exceed 3900 words
        if prepared by computer and may not exceed 15 pages if handwritten or prepared on a
        typewriter. Copies are not required unless requested by the court. (FRAP 35 & 40,
        Loc. R. 40(c)).

        MANDATE: In original proceedings before this court, there is no mandate. Unless the
        court shortens or extends the time, in all other cases, the mandate issues 7 days after
        the expiration of the time for filing a petition for rehearing. A timely petition for
        rehearing, petition for rehearing en banc, or motion to stay the mandate will stay
        issuance of the mandate. If the petition or motion is denied, the mandate will issue 7
        days later. A motion to stay the mandate will ordinarily be denied, unless the motion
        presents a substantial question or otherwise sets forth good or probable cause for a
        stay. (FRAP 41, Loc. R. 41).
USCA4 Appeal: 19-1405    Doc: 7-1     Filed: 05/29/2019 Pg: 3 of 3
                Case 1:19-cv-00787-RDB Document 11 Filed 05/29/19 Page 6 of 6

                   U.S. COURT OF APPEAL FOR THE FOURTH CIRCUIT BILL OF COSTS FORM
                                              (Civil Cases)

        Directions: Under FRAP 39(a), the costs of appeal in a civil action are generally taxed against appellant if a
        judgment is affirmed or the appeal is dismissed. Costs are generally taxed against appellee if a judgment is
        reversed. If a judgment is affirmed in part, reversed in part, modified, or vacated, costs are taxed as the court
        orders. A party who wants costs taxed must, within 14 days after entry of judgment, file an itemized and
        verified bill of costs, as follows:
        • Itemize any fee paid for docketing the appeal. The fee for docketing a case in the court of appeals is $500
        (effective 12/1/2013). The $5 fee for filing a notice of appeal is recoverable as a cost in the district court.
        • Itemize the costs (not to exceed $.15 per page) for copying the necessary number of formal briefs and
        appendices. (Effective 10/1/2015, the court requires 1 copy when filed; 3 more copies when tentatively
        calendared; 0 copies for service unless brief/appendix is sealed.). The court bases the cost award on the page
        count of the electronic brief/appendix. Costs for briefs filed under an informal briefing order are not
        recoverable.
        • Cite the statutory authority for an award of costs if costs are sought for or against the United States. See 28
        U.S.C. § 2412 (limiting costs to civil actions); 28 U.S.C. § 1915(f)(1) (prohibiting award of costs against the
        United States in cases proceeding without prepayment of fees).
        Any objections to the bill of costs must be filed within 14 days of service of the bill of costs. Costs are paid
        directly to the prevailing party or counsel, not to the clerk's office.

        Case Number & Caption: _____________________________________________________

        Prevailing Party Requesting Taxation of Costs: ____________________________________

        Appellate Docketing Fee (prevailing
        appellants):
                                                         Amount Requested: ______                  Amount Allowed: _____
                                                                                          Page
          Document               No. of Pages                  No. of Copies              Cost                Total Cost
                                                                                         (<$.15)
                                      Allowed Requested Allowed
                           Requested (court                                                        Requested           Allowed
                                            use only)   (court use only)                                              (court use only)




        TOTAL BILL OF COSTS:                                                                              $0.00                  $0.00

        1. If copying was done commercially, I have attached itemized bills. If copying was done in-house, I certify that my
        standard billing amount is not less than $.15 per copy or, if less, I have reduced the amount charged to the lesser rate.
        2. If costs are sought for or against the United States, I further certify that 28 U.S.C. § 2412 permits an award of costs.
        3. I declare under penalty of perjury that these costs are true and correct and were necessarily incurred in this action.

        Signature: __________________________________                        Date: _____________________________

                                                          Certificate of Service

        I certify that on this date I served this document as follows:

        Signature: _______________________________                       Date: _________________________________
